Case 3:10-cv-03561-WHA Document 783-1 Filed 03/12/12 Page 1 of 25




            EXHIBIT A
                         Case 3:10-cv-03561-WHA Document 783-1 Filed 03/12/12 Page 2 of 25




                                                         EXHIBIT B-2
                                Second Supplemental Infringement Contentions for the ’205 Patent

NOTE: The infringement evidence cited below is exemplary and not exhaustive. The cited examples are taken from Android
2.2,
2.3, and Google’s Android websites. Oracle’s infringement contentions apply to all versions of Android having similar or
nearly identical code or documentation, including past and expected future releases. Although Oracle’s investigation is
ongoing, theThe ’205 patent is infringed by all versions of Android from Oct. 21, 2008 to the presentthrough 2.3
(“Gingerbread”), including Android 1.1, 1.5 (“Cupcake”), 1.6 (“Donut”), 2.0/2.1 (“Éclair”), 2.2 (“Froyo”), and 2.3
(“Gingerbread”).

The cited source code examples arewere taken from http://android.git.kernel.org/. The citations are shortened and mirror the
file paths shown in http://android.git.kernel.org/. For example, “dalvik\vm\native\InternalNative.c” maps to
“[platform/dalvik.git] / vm / native / InternalNative.c” (accessible at
http://android.git.kernel.org/?p=platform/dalvik.git;a=blob;f=vm/native/InternalNative.c). Google has apparently made
modifications to certain source code files since Oracle’s Preliminary Infringement Contentions were served on December 2,
2010. As such, file paths may refer to earlier versions of Android than what is immediately available at
http://android.git.kernel.org/.It In addition, since Oracle’s Supplemental Infringement Contentions were served on April 1,
2011, it appears that theGoogle has taken down http://android.git.kernel.org and now makes Android git source code repository
(accessibleavailable through http://android.git.kernel.org/) was created on or around Oct. 21, 2008. As such, the list of
infringing Android versions may be expanded based on what Oracle learns about earlier Android versions.its own servers.
(See http://source.android.com/source/downloading.html.)

Oracle has determined that Android devices execute much of the code cited below every time the devices start up. Other cited
code is invoked when a developer runs the Android Compatibility Test Suite (CTS), which Google requires manufacturers to
execute to certify devices as Android-compatible. 1 The mobile device emulator that Google includes with the Android SDK 2
supports Oracle’s conclusion. The emulator displays log messages to inform developers of what is running on the virtual

1
  http://source.android.com/compatibility/android-2.2-cdd.pdf at 10 (“To be considered compatible with Android 2.2, device implementations . . .
MUST pass the most recent version of the Android Compatibility Test Suite (CTS) available at the time of the device implementation's software is
completed.”).
2
  See http://developer.android.com/guide/developing/devices/emulator.html (“The Android SDK includes a virtual mobile device emulator that runs on
your computer. The emulator lets you prototype, develop, and test Android applications without using a physical device. The Android emulator mimics
all of the hardware and software features of a typical mobile device, except that it cannot place actual phone calls.”).


pa-1456276 1512212                                                        1 of 24                                            April 1, 2011February 24, 2012
                        Case 3:10-cv-03561-WHA Document 783-1 Filed 03/12/12 Page 3 of 25




   device. If the developer includes a logging command in part of a program, the emulator will output a log entry every time that
   part of the program is executed. A developer might use this feature, for example, to test whether an application starts to
   execute a particular section of code before failing. By adding logging commands to key portions of the Android source code
   cited below, building an Android system image, and loading it into Google’s emulator, Oracle determined that many of these
   code portions are executed even before a user can interact with a device. Thus, Android-compatible devices, when used as
   Google intends, execute infringing code.

   The asserted claims include method claims. Anyone who uses a device running Android directly infringes the method claims.
   This includes Google and its downstream licensees, including device manufacturers, carriers, application developers, and end
   users. Google induces and contributes to infringement of all asserted claims by distributing Android code with the intention
   that it will be executed on mobile devices. Much of the code cited below is executed not only as applications run, but every
   time a device running Android starts up. Thus Android is not a staple article suitable for substantial non-infringing use.


          The ’205 Patent                                                      Infringed By
1. In a computer system, a method    Android uses the Dalvik virtual machine to execute virtual machine bytecode instructions at
for increasing the execution speed   runtime. The Dalvik virtual machine performs and runs code resulting from certain
of virtual machine instructions at   optimizations to increase the execution speed of virtual machine instructions at runtime.
runtime, the method comprising:
                                     See, e.g., Android Glossary Definition for “Dalvik,” available at
                                     http://developer.android.com/guide/appendix/glossary.html:
                                             Dalvik
                                             The Android platform's virtual machine. The Dalvik VM is an interpreter-only virtual
                                             machine that executes files in the Dalvik Executable (.dex) format, a format that is
                                             optimized for efficient storage and memory-mappable execution. The virtual machine is
                                             register-based, and it can run classes compiled by a Java language compiler that have
                                             been transformed into its native format using the included "dx" tool. The VM runs on
                                             top of Posix-compliant operating systems, which it relies on for underlying functionality
                                             (such as threading and low level memory management). The Dalvik core class library is
                                             intended to provide a familiar development base for those used to programming with
                                             Java Standard Edition, but it is geared specifically to the needs of a small mobile device.




   pa-1456276 1512212                                               2 of 24                                      April 1, 2011February 24, 2012
                     Case 3:10-cv-03561-WHA Document 783-1 Filed 03/12/12 Page 4 of 25




      The ’205 Patent                                                 Infringed By
                              Android Basics, entitled “What is Android?,” available at
                              http://developer.android.com/guide/basics/what-is-android.html.
                                      What is Android?

                                     Android is a software stack for mobile devices that includes an operating system,
                                     middleware and key applications. The Android SDK provides the tools and APIs
                                     necessary to begin developing applications on the Android platform using the Java
                                     programming language.

                                     Features
                                        • Application framework enabling reuse and replacement of components
                                        • Dalvik virtual machine optimized for mobile devices
                                        • Integrated browser based on the open source WebKit engine
                                        • Optimized graphics powered by a custom 2D graphics library; 3D graphics
                                           based on the OpenGL ES 1.0 specification (hardware acceleration optional)
                                        • SQLite for structured data storage
                                        • Media support for common audio, video, and still image formats (MPEG4,
                                           H.264, MP3, AAC, AMR, JPG, PNG, GIF)
                                        • GSM Telephony (hardware dependent)
                                        • Bluetooth, EDGE, 3G, and WiFi (hardware dependent)
                                        • Camera, GPS, compass, and accelerometer (hardware dependent)
                                        • Rich development environment including a device emulator, tools for
                                           debugging, memory and performance profiling, and a plugin for the Eclipse IDE

                                     Android Architecture

                                     The following diagram shows the major components of the Android operating system.
                                     Each section is described in more detail below.




pa-1456276 1512212                                         3 of 24                                    April 1, 2011February 24, 2012
                     Case 3:10-cv-03561-WHA Document 783-1 Filed 03/12/12 Page 5 of 25




      The ’205 Patent                                                 Infringed By




                                    Applications

                                    Android will ship with a set of core applications including an email client, SMS
                                    program, calendar, maps, browser, contacts, and others. All applications are written
                                    using the Java programming language.

                                    …

                                    Android Runtime

                                    Android includes a set of core libraries that provides most of the functionality available



pa-1456276 1512212                                         4 of 24                                      April 1, 2011February 24, 2012
                     Case 3:10-cv-03561-WHA Document 783-1 Filed 03/12/12 Page 6 of 25




      The ’205 Patent                                                    Infringed By
                                     in the core libraries of the Java programming language.

                                     Every Android application runs in its own process, with its own instance of the Dalvik
                                     virtual machine. Dalvik has been written so that a device can run multiple VMs
                                     efficiently. The Dalvik VM executes files in the Dalvik Executable (.dex) format which
                                     is optimized for minimal memory footprint. The VM is register-based, and runs classes
                                     compiled by a Java language compiler that have been transformed into the .dex format
                                     by the included "dx" tool.

                                     The Dalvik VM relies on the Linux kernel for underlying functionality such as threading
                                     and low-level memory management.

                              Android uses the dexopt tool, which increases the execution speed of virtual machine
                              instructions at runtime:

                              See, e.g., dalvik\docs\dexopt.html; see also,
                              http://android.git.kernel.org/?p=platform/dalvik.git;a=blob;f=docs/dexopt.html:
                              Dalvik Optimization and Verification With dexopt

                              The Dalvik virtual machine was designed specifically for the Android mobile platform. The
                              target systems have little RAM, store data on slow internal flash memory, and generally have
                              the performance characteristics of decade-old desktop systems. They also run Linux, which
                              provides virtual memory, processes and threads, and UID-based security mechanisms.

                              The features and limitations caused us to focus on certain goals:

                                 •   Class data, notably bytecode, must be shared between multiple processes to minimize
                                     total system memory usage.
                                 •   The overhead in launching a new app must be minimized to keep the device responsive.
                                 •   Storing class data in individual files results in a lot of redundancy, especially with
                                     respect to strings. To conserve disk space we need to factor this out.
                                 •   Parsing class data fields adds unnecessary overhead during class loading. Accessing data


pa-1456276 1512212                                          5 of 24                                    April 1, 2011February 24, 2012
                     Case 3:10-cv-03561-WHA Document 783-1 Filed 03/12/12 Page 7 of 25




      The ’205 Patent                                                      Infringed By
                                       values (e.g. integers and strings) directly as C types is better.
                                 •     Bytecode verification is necessary, but slow, so we want to verify as much as possible
                                       outside app execution.
                                 •     Bytecode optimization (quickened instructions, method pruning) is important for speed
                                       and battery life.
                                 •     For security reasons, processes may not edit shared code.

                              The typical VM implementation uncompresses individual classes from a compressed archive
                              and stores them on the heap. This implies a separate copy of each class in every process, and
                              slows application startup because the code must be uncompressed (or at least read off disk in
                              many small pieces). On the other hand, having the bytecode on the local heap makes it easy to
                              rewrite instructions on first use, facilitating a number of different optimizations.

                              The goals led us to make some fundamental decisions:

                                 •     Multiple classes are aggregated into a single "DEX" file.
                                 •     DEX files are mapped read-only and shared between processes.
                                 •     Byte ordering and word alignment are adjusted to suit the local system.
                                 •     Bytecode verification is mandatory for all classes, but we want to "pre-verify" whatever
                                       we can.
                                 •     Optimizations that require rewriting bytecode must be done ahead of time.
                                 •     The consequences of these decisions are explained in the following sections.
                              ….
                              dexopt

                              We want to verify and optimize all of the classes in the DEX file. The easiest and safest way to
                              do this is to load all of the classes into the VM and run through them. Anything that fails to load
                              is simply not verified or optimized. Unfortunately, this can cause allocation of some resources
                              that are difficult to release (e.g. loading of native shared libraries), so we don't want to do it in
                              the same virtual machine that we're running applications in.

                              The solution is to invoke a program called dexopt, which is really just a back door into the VM.


pa-1456276 1512212                                           6 of 24                                       April 1, 2011February 24, 2012
                     Case 3:10-cv-03561-WHA Document 783-1 Filed 03/12/12 Page 8 of 25




      The ’205 Patent                                                    Infringed By
                              It performs an abbreviated VM initialization, loads zero or more DEX files from the bootstrap
                              class path, and then sets about verifying and optimizing whatever it can from the target DEX.
                              On completion, the process exits, freeing all resources.

                              It is possible for multiple VMs to want the same DEX file at the same time. File locking is used
                              to ensure that dexopt is only run once.
                              ….
                              Optimization

                              Virtual machine interpreters typically perform certain optimizations the first time a piece of
                              code is used. Constant pool references are replaced with pointers to internal data structures,
                              operations that always succeed or always work a certain way are replaced with simpler forms.
                              Some of these require information only available at runtime, others can be inferred statically
                              when certain assumptions are made.

                              The Dalvik optimizer does the following:

                                 •   For virtual method calls, replace the method index with a vtable index.
                                 •   For instance field get/put, replace the field index with a byte offset. Also, merge the
                                     boolean / byte / char / short variants into a single 32-bit form (less code in the interpreter
                                     means more room in the CPU I-cache).
                                 •   Replace a handful of high-volume calls, like String.length(), with "inline" replacements.
                                     This skips the usual method call overhead, directly switching from the interpreter to a
                                     native implementation.
                                 •   Prune empty methods. The simplest example is Object.<init>, which does nothing, but
                                     must be called whenever any object is allocated. The instruction is replaced with a new
                                     version that acts as a no-op unless a debugger is attached.
                                 •   Append pre-computed data. For example, the VM wants to have a hash table for
                                     lookups on class name. Instead of computing this when the DEX file is loaded, we can
                                     compute it now, saving heap space and computation time in every VM where the DEX
                                     is loaded.



pa-1456276 1512212                                           7 of 24                                       April 1, 2011February 24, 2012
                         Case 3:10-cv-03561-WHA Document 783-1 Filed 03/12/12 Page 9 of 25




         The ’205 Patent                                                       Infringed By
                                    All of the instruction modifications involve replacing the opcode with one not defined by the
                                    Dalvik specification. This allows us to freely mix optimized and unoptimized instructions. The
                                    set of optimized instructions, and their exact representation, is tied closely to the VM version.

                                    Most of the optimizations are obvious "wins". The use of raw indices and offsets not only
                                    allows us to execute more quickly, we can also skip the initial symbolic resolution. Pre-
                                    computation eats up disk space, and so must be done in moderation.

                                    There are a couple of potential sources of trouble with these optimizations. First, vtable indices
                                    and byte offsets are subject to change if the VM is updated. Second, if a superclass is in a
                                    different DEX, and that other DEX is updated, we need to ensure that our optimized indices and
                                    offsets are updated as well. A similar but more subtle problem emerges when user-defined class
                                    loaders are employed: the class we actually call may not be the one we expected to call.

                                    These problems are addressed with dependency lists and some limitations on what can be
                                    optimized.

                                    See also, e.g., dalvik\docs\ embedded-vm-control.html#verifier (“The system tries to pre-verify
                                    all classes in a DEX file to reduce class load overhead, and performs a series of optimizations to
                                    improve runtime performance. Both of these are done by the dexopt command, either in the
                                    build system or by the installer. On a development device, dexopt may be run the first time a
                                    DEX file is used and whenever it or one of its dependencies is updated ("just-in-time"
                                    optimization and verification).”).
receiving a first virtual machine   Android’s dexopt tool receives a first virtual machine instruction.
instruction;
                                    See, e.g.,
                                    http://android.git.kernel.org/?p=platform/dalvik.git;a=blob;f=vm/analysis/DexOptimize.c#l1486
                                    1486   /*
                                    1487   * Run through all classes that were successfully loaded from this DEX
                                    1488   * file and optimize their code sections.
                                    1489   */
                                    1490   static void optimizeLoadedClasses(DexFile* pDexFile)
                                    1491   {
                                    1492   u4 count = pDexFile->pHeader->classDefsSize;


   pa-1456276 1512212                                             8 of 24                                      April 1, 2011February 24, 2012
                     Case 3:10-cv-03561-WHA Document 783-1 Filed 03/12/12 Page 10 of 25




      The ’205 Patent                                              Infringed By
                               1493   u4 idx;
                               1494   InlineSub* inlineSubs = NULL;
                               1495
                               1496   LOGV("DexOpt: +++ optimizing up to %d classes\n", count);
                               1497   assert(gDvm.dexOptMode != OPTIMIZE_MODE_NONE);
                               1498
                               1499   inlineSubs = createInlineSubsTable();
                               1500
                               1501   for (idx = 0; idx < count; idx++) {
                               1502   const DexClassDef* pClassDef;
                               1503   const char* classDescriptor;
                               1504   ClassObject* clazz;
                               1505
                               1506   pClassDef = dexGetClassDef(pDexFile, idx);
                               1507   classDescriptor = dexStringByTypeIdx(pDexFile, pClassDef->classIdx);
                               1508
                               1509   /* all classes are loaded into the bootstrap class loader */
                               1510   clazz = dvmLookupClass(classDescriptor, NULL, false);
                               1511   if (clazz != NULL) {
                               1512   if ((pClassDef->accessFlags & CLASS_ISPREVERIFIED) == 0 &&
                               1513   gDvm.dexOptMode == OPTIMIZE_MODE_VERIFIED)
                               1514   {
                               1515   LOGV("DexOpt: not optimizing '%s': not verified\n",
                               1516   classDescriptor);
                               1517   } else if (clazz->pDvmDex->pDexFile != pDexFile) {
                               1518   /* shouldn't be here -- verifier should have caught */
                               1519   LOGD("DexOpt: not optimizing '%s': multiple definitions\n",
                               1520   classDescriptor);
                               1521   } else {
                               1522   optimizeClass(clazz, inlineSubs);
                               1523
                               1524   /* set the flag whether or not we actually did anything */
                               1525   ((DexClassDef*)pClassDef)->accessFlags |=
                               1526   CLASS_ISOPTIMIZED;
                               1527   }
                               1528   } else {
                               1529   LOGV("DexOpt: not optimizing unavailable class '%s'\n",
                               1530   classDescriptor);
                               1531   }



pa-1456276 1512212                                       9 of 24                            April 1, 2011February 24, 2012
                     Case 3:10-cv-03561-WHA Document 783-1 Filed 03/12/12 Page 11 of 25




      The ’205 Patent                                                   Infringed By
                               1532 }
                               1533
                               1534 free(inlineSubs);
                               1535 }

                               At 1501..1522..1532, Android calls optimizeClass()for each class in DEX file, passing in
                               a table of inline substitutions, inlineSubs. See also, e.g., dalvik\vm\analysis\DexPrepare.c and
                               dalvik\vm\analysis\Optimize.c (e.g., dvmCreateInlineSubsTable routines).

                               http://android.git.kernel.org/?p=platform/dalvik.git;a=blob;f=vm/analysis/DexOptimize.c#l1537
                               1537 /*
                               1538 * Optimize the specified class.
                               1539 */
                               1540 static void optimizeClass(ClassObject* clazz, const InlineSub*
                               inlineSubs)
                               1541 {
                               1542 int i;
                               1543
                               1544 for (i = 0; i < clazz->directMethodCount; i++) {
                               1545 if (!optimizeMethod(&clazz->directMethods[i], inlineSubs))
                               1546 goto fail;
                               1547 }
                               1548 for (i = 0; i < clazz->virtualMethodCount; i++) {
                               1549 if (!optimizeMethod(&clazz->virtualMethods[i], inlineSubs))
                               1550 goto fail;
                               1551 }
                               1552
                               1553 return;
                               1554
                               1555 fail:
                               1556 LOGV("DexOpt: ceasing optimization attempts on %s\n", clazz-
                               >descriptor);
                               1557 }

                               At 1544-1545..1547 and 1548-1549..1551 Android calls optimizeMethod()on each direct
                               or virtual method in the incoming DEX class. See also, e.g., dalvik\vm\analysis\Optimize.c.



pa-1456276 1512212                                          10 of 24                                     April 1, 2011February 24, 2012
                     Case 3:10-cv-03561-WHA Document 783-1 Filed 03/12/12 Page 12 of 25




      The ’205 Patent                                                    Infringed By
                               http://android.git.kernel.org/?p=platform/dalvik.git;a=blob;f=vm/analysis/DexOptimize.c#l1559
                               1559   /*
                               1560   * Optimize instructions in a method.
                               1561   *
                               1562   * Returns "true" if all went well, "false" if we bailed out early when
                               1563   * something failed.
                               1564   */
                               1565   static bool optimizeMethod(Method* method, const InlineSub* inlineSubs)
                               1566   {
                               1567   u4 insnsSize;
                               1568   u2* insns;
                               1569   u2 inst;
                               1570
                               1571   if (dvmIsNativeMethod(method) || dvmIsAbstractMethod(method))
                               1572   return true;
                               1573
                               1574   insns = (u2*) method->insns;
                               1575   assert(insns != NULL);
                               1576   insnsSize = dvmGetMethodInsnsSize(method);
                               1577
                               1578   while (insnsSize > 0) {
                               1579   int width;
                               1580
                               1581   inst = *insns & 0xff;
                               1582
                               1583   switch (inst) {
                               ...
                               1645   case OP_INVOKE_DIRECT_RANGE:
                               1646   rewriteExecuteInlineRange(method, insns, METHOD_DIRECT, inlineSubs);
                               1647   break;
                               ...
                               1652   case OP_INVOKE_STATIC_RANGE:
                               1653   rewriteExecuteInlineRange(method, insns, METHOD_STATIC, inlineSubs);
                               1654   break;
                               ...
                               1656   default:
                               1657   // ignore this instruction
                               1658   ;
                               1659   }



pa-1456276 1512212                                         11 of 24                                   April 1, 2011February 24, 2012
                        Case 3:10-cv-03561-WHA Document 783-1 Filed 03/12/12 Page 13 of 25




         The ’205 Patent                                                       Infringed By
                                    ...
                                    1674   insns += width;
                                    1675   insnsSize -= width;
                                    1676   }
                                    1677
                                    1678   assert(insnsSize == 0);
                                    1679   return true;
                                    1680   }

                                    1578..1645-1647..1652-1654..1676 Android calls rewriteExecuteInlineRange()for
                                    each OP_INVOKE_DIRECT_RANGE or OP_INVOKE_STATIC_RANGE virtual machine
                                    instruction. See also, e.g., dalvik\vm\analysis\Optimize.c.
generating, at runtime, a new       Android generates at runtime a new virtual machine instruction that represents or references one
virtual machine instruction that    or more native instructions that can be executed instead of said first virtual machine instruction.
represents or references one or
more native instructions that can   As described above, Android includes a utility called dexopt:
be executed instead of said first
virtual machine instruction; and    See, e.g., dalvik\docs\dexopt.html; see also,
                                    http://android.git.kernel.org/?p=platform/dalvik.git;a=blob;f=docs/dexopt.html:
                                    dexopt

                                    We want to verify and optimize all of the classes in the DEX file. The easiest and safest way to
                                    do this is to load all of the classes into the VM and run through them. Anything that fails to load
                                    is simply not verified or optimized. Unfortunately, this can cause allocation of some resources
                                    that are difficult to release (e.g. loading of native shared libraries), so we don't want to do it in
                                    the same virtual machine that we're running applications in.

                                    The solution is to invoke a program called dexopt, which is really just a back door into the VM.
                                    It performs an abbreviated VM initialization, loads zero or more DEX files from the bootstrap
                                    class path, and then sets about verifying and optimizing whatever it can from the target DEX.
                                    On completion, the process exits, freeing all resources.

                                    It is possible for multiple VMs to want the same DEX file at the same time. File locking is used
                                    to ensure that dexopt is only run once.


   pa-1456276 1512212                                              12 of 24                                      April 1, 2011February 24, 2012
                     Case 3:10-cv-03561-WHA Document 783-1 Filed 03/12/12 Page 14 of 25




      The ’205 Patent                                                    Infringed By
                               ….

                               See also, e.g., dalvik\docs\ embedded-vm-control.html#verifier (“The system tries to pre-verify
                               all classes in a DEX file to reduce class load overhead, and performs a series of optimizations to
                               improve runtime performance. Both of these are done by the dexopt command, either in the
                               build system or by the installer. On a development device, dexopt may be run the first time a
                               DEX file is used and whenever it or one of its dependencies is updated ("just-in-time"
                               optimization and verification).”).

                               See, e.g.,
                               http://android.git.kernel.org/?p=platform/dalvik.git;a=blob;f=vm/analysis/DexOptimize.c#l2345
                               2345 /*
                               2346 * See if the method being called can be rewritten as an inline
                               operation.
                               2347 * Works for invoke-virtual/range, invoke-direct/range, and invoke-
                               static/range.
                               2348 *
                               2349 * Returns "true" if we replace it.
                               2350 */
                               2351 static bool rewriteExecuteInlineRange(Method* method, u2* insns,
                               2352 MethodType methodType, const InlineSub* inlineSubs)
                               2353 {
                               2354 ClassObject* clazz = method->clazz;
                               2355 Method* calledMethod;
                               2356 u2 methodIdx = insns[1];
                               2357
                               2358 calledMethod = dvmOptResolveMethod(clazz, methodIdx, methodType, NULL);
                               2359 if (calledMethod == NULL) {
                               2360 LOGV("+++ DexOpt inline/range: can't find %d\n", methodIdx);
                               2361 return false;
                               2362 }
                               2363
                               2364 while (inlineSubs->method != NULL) {
                               2365 if (inlineSubs->method == calledMethod) {
                               2366 assert((insns[0] & 0xff) == OP_INVOKE_DIRECT_RANGE ||
                               2367 (insns[0] & 0xff) == OP_INVOKE_STATIC_RANGE ||
                               2368 (insns[0] & 0xff) == OP_INVOKE_VIRTUAL_RANGE);



pa-1456276 1512212                                           13 of 24                                     April 1, 2011February 24, 2012
                     Case 3:10-cv-03561-WHA Document 783-1 Filed 03/12/12 Page 15 of 25




      The ’205 Patent                                                   Infringed By
                               2369   insns[0] = (insns[0] & 0xff00) | (u2) OP_EXECUTE_INLINE_RANGE;
                               2370   insns[1] = (u2) inlineSubs->inlineIdx;
                               2371
                               2372   //LOGI("DexOpt: execute-inline/range %s.%s --> %s.%s\n",
                               2373   // method->clazz->descriptor, method->name,
                               2374   // calledMethod->clazz->descriptor, calledMethod->name);
                               2375   return true;
                               2376   }
                               2377
                               2378   inlineSubs++;
                               2379   }
                               2380
                               2381   return false;
                               2382   }

                               at 2369-70 Android generates a new instruction, with OP_EXECUTE_INLINE_RANGE as the
                               new opcode. See also, e.g., dalvik\vm\analysis\Optimize.c.

                               at 2370 Android stores inlineSubs->inlineIdx (the index of the native code in the inlineSubs
                               tablegDvmInlineOpsTable) as the instruction data to reference the native code.

                               Android passes in const InlineSub* inlineSubs, which is constructed at line 1499
                               by calling createInlineSubsTable(), which is:

                               http://android.git.kernel.org/?p=platform/dalvik.git;a=blob;f=vm/analysis/DexOptimize.c#l1411
                               1411   /*
                               1412   * Create a table of inline substitutions.
                               1413   *
                               1414   * TODO: this is currently just a linear array. We will want to put this
                               1415   * into a hash table as the list size increases.
                               1416   */
                               1417   static InlineSub* createInlineSubsTable(void)
                               1418   {
                               1419   const InlineOperation* ops = dvmGetInlineOpsTable();
                               1420   const int count = dvmGetInlineOpsTableLength();
                               1421   InlineSub* table;
                               1422   Method* method;



pa-1456276 1512212                                          14 of 24                                     April 1, 2011February 24, 2012
                     Case 3:10-cv-03561-WHA Document 783-1 Filed 03/12/12 Page 16 of 25




      The ’205 Patent                                              Infringed By
                               1423   ClassObject* clazz;
                               1424   int i, tableIndex;
                               1425
                               1426   /*
                               1427   * Allocate for optimism: one slot per entry, plus an end-of-list marker.
                               1428   */
                               1429   table = malloc(sizeof(InlineSub) * (count+1));
                               1430
                               1431   tableIndex = 0;
                               1432   for (i = 0; i < count; i++) {
                               1433   clazz = dvmFindClassNoInit(ops[i].classDescriptor, NULL);
                               1434   if (clazz == NULL) {
                               1435   LOGV("DexOpt: can't inline for class '%s': not found\n",
                               1436   ops[i].classDescriptor);
                               1437   dvmClearOptException(dvmThreadSelf());
                               1438   } else {
                               1439   /*
                               1440   * Method could be virtual or direct. Try both. Don't use
                               1441   * the "hier" versions.
                               1442   */
                               1443   method = dvmFindDirectMethodByDescriptor(clazz, ops[i].methodName,
                               1444   ops[i].methodSignature);
                               1445   if (method == NULL)
                               1446   method = dvmFindVirtualMethodByDescriptor(clazz, ops[i].methodName,
                               1447   ops[i].methodSignature);
                               1448   if (method == NULL) {
                               1449   LOGW("DexOpt: can't inline %s.%s %s: method not found\n",
                               1450   ops[i].classDescriptor, ops[i].methodName,
                               1451   ops[i].methodSignature);
                               1452   } else {
                               1453   if (!dvmIsFinalClass(clazz) && !dvmIsFinalMethod(method)) {
                               1454   LOGW("DexOpt: WARNING: inline op on non-final class/method "
                               1455   "%s.%s\n",
                               1456   clazz->descriptor, method->name);
                               1457   /* fail? */
                               1458   }
                               1459   if (dvmIsSynchronizedMethod(method) ||
                               1460   dvmIsDeclaredSynchronizedMethod(method))
                               1461   {



pa-1456276 1512212                                      15 of 24                            April 1, 2011February 24, 2012
                     Case 3:10-cv-03561-WHA Document 783-1 Filed 03/12/12 Page 17 of 25




      The ’205 Patent                                                   Infringed By
                               1462    LOGW("DexOpt: WARNING: inline op on synchronized method "
                               1463    "%s.%s\n",
                               1464    clazz->descriptor, method->name);
                               1465    /* fail? */
                               1466    }
                               1467
                               1468    table[tableIndex].method = method;
                               1469    table[tableIndex].inlineIdx = i;
                               1470    tableIndex++;
                               1471
                               1472    LOGV("DexOpt: will inline %d: %s.%s %s\n", i,
                               1473    ops[i].classDescriptor, ops[i].methodName,
                               1474    ops[i].methodSignature);
                               1475    }
                               1476    }
                               1477    }
                               1478
                               1479    /* mark end of table */
                               1480    table[tableIndex].method = NULL;
                               1481    LOGV("DexOpt: inline table has %d entries\n", tableIndex);
                               1482
                               1483    return table;
                               1484    }

                               See also, e.g., dalvik\vm\analysis\DexPrepare.c and dalvik\vm\analysis\Optimize.c (e.g.,
                               dvmCreateInlineSubsTable routines).

                               The inlineSubs table is a map from Method*’s to indexes into the table returned by
                               dvmGetInlineOpsTable(), which is:

                               http://android.git.kernel.org/?p=platform/dalvik.git;a=blob;f=vm/InlineNative.c#l706
                               706    /*
                               707    * Get a pointer to the inlineops table.
                               708    */
                               709    const InlineOperation* dvmGetInlineOpsTable(void)
                               710    {
                               711    return gDvmInlineOpsTable;
                               712    }


pa-1456276 1512212                                          16 of 24                                    April 1, 2011February 24, 2012
                     Case 3:10-cv-03561-WHA Document 783-1 Filed 03/12/12 Page 18 of 25




      The ’205 Patent                                                  Infringed By

                               where gDvmInlineOpsTable is:

                               http://android.git.kernel.org/?p=platform/dalvik.git;a=blob;f=vm/InlineNative.c#l628
                               628 /*
                               629 * Table of methods.
                               630 *
                               631 * The DEX optimizer uses the class/method/signature string fields to
                               decide
                               632 * which calls it can trample. The interpreter just uses the function
                               633 * pointer field.
                               634 *
                               635 * IMPORTANT: you must update DALVIK_VM_BUILD in DalvikVersion.h if you
                               make
                               636 * changes to this table.
                               637 *
                               638 * NOTE: If present, the JIT will also need to know about changes
                               639 * to this table. Update the NativeInlineOps enum in InlineNative.h and
                               640 * the dispatch code in compiler/codegen/<target>/Codegen.c.
                               641 */
                               642 const InlineOperation gDvmInlineOpsTable[] = {
                               643 { org_apache_harmony_dalvik_NativeTestTarget_emptyInlineMethod,
                               644 "Lorg/apache/harmony/dalvik/NativeTestTarget;",
                               645 "emptyInlineMethod", "()V" },
                               646
                               647 { javaLangString_charAt,
                               648 "Ljava/lang/String;", "charAt", "(I)C" },
                               649 { javaLangString_compareTo,
                               650 "Ljava/lang/String;", "compareTo", "(Ljava/lang/String;)I" },
                               651 { javaLangString_equals,
                               652 "Ljava/lang/String;", "equals", "(Ljava/lang/Object;)Z" },
                               653 { javaLangString_indexOf_I,
                               654 "Ljava/lang/String;", "indexOf", "(I)I" },
                               655 { javaLangString_indexOf_II,
                               656 "Ljava/lang/String;", "indexOf", "(II)I" },
                               657 { javaLangString_length,
                               658 "Ljava/lang/String;", "length", "()I" },
                               659
                               660 { javaLangMath_abs_int,


pa-1456276 1512212                                          17 of 24                                    April 1, 2011February 24, 2012
                     Case 3:10-cv-03561-WHA Document 783-1 Filed 03/12/12 Page 19 of 25




      The ’205 Patent                                                    Infringed By
                               661   "Ljava/lang/Math;", "abs", "(I)I" },
                               662   { javaLangMath_abs_long,
                               663   "Ljava/lang/Math;", "abs", "(J)J" },
                               664   { javaLangMath_abs_float,
                               665   "Ljava/lang/Math;", "abs", "(F)F" },
                               666   { javaLangMath_abs_double,
                               667   "Ljava/lang/Math;", "abs", "(D)D" },
                               668   { javaLangMath_min_int,
                               669   "Ljava/lang/Math;", "min", "(II)I" },
                               670   { javaLangMath_max_int,
                               671   "Ljava/lang/Math;", "max", "(II)I" },
                               672   { javaLangMath_sqrt,
                               673   "Ljava/lang/Math;", "sqrt", "(D)D" },
                               674   { javaLangMath_cos,
                               675   "Ljava/lang/Math;", "cos", "(D)D" },
                               676   { javaLangMath_sin,
                               677   "Ljava/lang/Math;", "sin", "(D)D" },
                               678   };

                               where the elements are instances of:

                               http://android.git.kernel.org/?p=platform/dalvik.git;a=blob;f=vm/InlineNative.h#l26
                               26 /*
                               27 * Basic 4-argument inline operation handler.
                               28 */
                               29 typedef bool (*InlineOp4Func)(u4 arg0, u4 arg1, u4 arg2, u4 arg3,
                               30 JValue* pResult);
                               ...
                               44 typedef struct InlineOperation {
                               45 InlineOp4Func func; /* MUST be first entry */
                               46 const char* classDescriptor;
                               47 const char* methodName;
                               48 const char* methodSignature;
                               49 } InlineOperation;

                               The pointers to the functions are references to native instructions, for example,

                               http://android.git.kernel.org/?p=platform/dalvik.git;a=blob;f=vm/InlineNative.c#l374


pa-1456276 1512212                                           18 of 24                                      April 1, 2011February 24, 2012
                     Case 3:10-cv-03561-WHA Document 783-1 Filed 03/12/12 Page 20 of 25




      The ’205 Patent                                                   Infringed By
                               374   /*
                               375   * public int length()
                               376   */
                               377   static bool javaLangString_length(u4 arg0, u4 arg1, u4 arg2, u4 arg3,
                               378   JValue* pResult)
                               379   {
                               380   //LOGI("String.length this=0x%08x pResult=%p\n", arg0, pResult);
                               381
                               382   /* null reference check on "this" */
                               383   if (!dvmValidateObject((Object*) arg0))
                               384   return false;
                               385
                               386   pResult->i = dvmGetFieldInt((Object*) arg0, STRING_FIELDOFF_COUNT);
                               387   return true;
                               388   }

                               which is compiled into native instructions. The alternative would be to interpret many virtual
                               machine instructions to do the same thing.

                               According to Google’s documentation, Dalvik Optimization and Verification With dexopt
                               (dalvik\docs\dexopt.html), when an application is downloaded to an Android device, the system
                               installer runs dexopt to create an “optimized DEX” file in the dalvik-cache directory. On an
                               Android system, the PackageManagerService is responsible for installing applications. The
                               Java source code defining the PackageManagerService class is found in
                               PackageManagerService.java. The performDexOptLI() method of the PackageManagerService
                               class is invoked as part of the application installation process. This method in turn invokes the
                               dexopt() method of the Installer class. The PackageManagerService class invokes Installer’s
                               dexopt() under other circumstances as well. The Java source code defining the Installer class is
                               found in Installer.java. The dexopt() method of the Installer class, through invocations of
                               execute(), transaction(), writeCommand(),readReply(), and other methods, causes dexopt to run
                               and then returns dexopt’s success code to its caller.

                               Because PackageManagerService.java and Installer.java are written in the Java programming
                               language, they are compiled to virtual machine instructions for execution, not native
                               instructions. The dexopt process described in the code above and in the Google documentation


pa-1456276 1512212                                           19 of 24                                     April 1, 2011February 24, 2012
                        Case 3:10-cv-03561-WHA Document 783-1 Filed 03/12/12 Page 21 of 25




         The ’205 Patent                                                       Infringed By
                                      is performed during the execution of the virtual machine instructions comprising the Installer
                                      and PackageManagerService classes. Thus Android satisfies the “at runtime” limitation as
                                      construed by the Court.

executing said new virtual            Android executes the new virtual machine instruction instead of said first virtual machine
machine instruction instead of said   instruction.
first virtual machine instruction.
                                      See, e.g.,
                                      http://android.git.kernel.org/?p=platform/dalvik.git;a=blob;f=vm/mterp/out/InterpAsm-
                                      armv4t.S#l7686
                                      7686   /* ------------------------------ */
                                      7687   .balign 64
                                      7688   .L_OP_EXECUTE_INLINE_RANGE: /* 0xef */
                                      7689   /* File: armv5te/OP_EXECUTE_INLINE_RANGE.S */
                                      7690   /*
                                      7691   * Execute a "native inline" instruction, using "/range" semantics.
                                      7692   * Same idea as execute-inline, but we get the args differently.
                                      7693   *
                                      7694   * We need to call an InlineOp4Func:
                                      7695   * bool (func)(u4 arg0, u4 arg1, u4 arg2, u4 arg3, JValue* pResult)
                                      7696   *
                                      7697   * The first four args are in r0-r3, pointer to return value storage
                                      7698   * is on the stack. The function's return value is a flag that tells
                                      7699   * us if an exception was thrown.
                                      7700   */
                                      7701   /* [opt] execute-inline/range {vCCCC..v(CCCC+AA-1)}, inline@BBBB */
                                      7702   FETCH(r10, 1) @ r10<- BBBB
                                      7703   add r1, rGLUE, #offGlue_retval @ r1<- &glue->retval
                                      7704   EXPORT_PC() @ can throw
                                      7705   sub sp, sp, #8 @ make room for arg, +64 bit align
                                      7706   mov r0, rINST, lsr #8 @ r0<- AA
                                      7707   str r1, [sp] @ push &glue->retval
                                      7708   bl .LOP_EXECUTE_INLINE_RANGE_continue @ make call; will return after
                                      7709   add sp, sp, #8 @ pop stack
                                      7710   cmp r0, #0 @ test boolean result of inline
                                      7711   beq common_exceptionThrown @ returned false, handle exception
                                      7712   FETCH_ADVANCE_INST(3) @ advance rPC, load rINST



   pa-1456276 1512212                                               20 of 24                                    April 1, 2011February 24, 2012
                     Case 3:10-cv-03561-WHA Document 783-1 Filed 03/12/12 Page 22 of 25




      The ’205 Patent                                                  Infringed By
                               7713 GET_INST_OPCODE(ip) @ extract opcode from rINST
                               7714 GOTO_OPCODE(ip) @ jump to next instruction

                               This is the computed-goto threaded-interpreter code for the OP_EXECUTE_INLINE_RANGE
                               virtual machine instruction (0xef), which has replaced the OP_INVOKE_DIRECT_RANGE or
                               OP_INVOKE_STATIC_RANGE as the virtual machine instruction.

                               7708 calls .LOP_EXECUTE_INLINE_RANGE_continue to perform the actual transfer to the
                               native instructions.

                               http://android.git.kernel.org/?p=platform/dalvik.git;a=blob;f=vm/mterp/out/InterpAsm-
                               armv4t.S#l9502
                               9502   /* continuation for OP_EXECUTE_INLINE_RANGE */
                               9503
                               9504   /*
                               9505   * Extract args, call function.
                               9506   * r0 = #of args (0-4)
                               9507   * r10 = call index
                               9508   * lr = return addr, above [DO NOT bl out of here w/o preserving LR]
                               9509   */
                               9510   .LOP_EXECUTE_INLINE_RANGE_continue:
                               9511   rsb r0, r0, #4 @ r0<- 4-r0
                               9512   FETCH(r9, 2) @ r9<- CCCC
                               9513   add pc, pc, r0, lsl #3 @ computed goto, 2 instrs each
                               9514   bl common_abort @ (skipped due to ARM prefetch)
                               9515   4: add ip, r9, #3 @ base+3
                               9516   GET_VREG(r3, ip) @ r3<- vBase[3]
                               9517   3: add ip, r9, #2 @ base+2
                               9518   GET_VREG(r2, ip) @ r2<- vBase[2]
                               9519   2: add ip, r9, #1 @ base+1
                               9520   GET_VREG(r1, ip) @ r1<- vBase[1]
                               9521   1: add ip, r9, #0 @ (nop)
                               9522   GET_VREG(r0, ip) @ r0<- vBase[0]
                               9523   0:
                               9524   ldr r9, .LOP_EXECUTE_INLINE_RANGE_table @ table of InlineOperation
                               9525   LDR_PC "[r9, r10, lsl #4]" @ sizeof=16, "func" is first entry
                               9526   @ (not reached)



pa-1456276 1512212                                         21 of 24                                    April 1, 2011February 24, 2012
                     Case 3:10-cv-03561-WHA Document 783-1 Filed 03/12/12 Page 23 of 25




      The ’205 Patent                                                    Infringed By

                               which at 9524-2525 uses the reference to the table of native instructions to fetch a new native
                               program counter, and transfers to those native instructions.




pa-1456276 1512212                                           22 of 24                                     April 1, 2011February 24, 2012
                         Case 3:10-cv-03561-WHA Document 783-1 Filed 03/12/12 Page 24 of 25




          The ’205 Patent                                                           Infringed By
2. The method of claim 1, further        See Claim 1, supra.
comprising overwriting a selected
virtual machine instruction with a       The overwriting of the selected virtual machine instruction with the new virtual machine
new virtual machine instruction, the     instruction is in rewriteExecuteInlineRange, cited above, but repeated here for clarity:
new virtual machine instruction
specifying execution of the at least     http://android.git.kernel.org/?p=platform/dalvik.git;a=blob;f=vm/analysis/DexOptimize.c#l23
one native machine instruction.          45
                                         2345 /*
                                         2346 * See if the method being called can be rewritten as an inline
                                         operation.
                                         2347 * Works for invoke-virtual/range, invoke-direct/range, and invoke-
                                         static/range.
                                         2348 *
                                         2349 * Returns "true" if we replace it.
                                         2350 */
                                         2351 static bool rewriteExecuteInlineRange(Method* method, u2* insns,
                                         2352 MethodType methodType, const InlineSub* inlineSubs)
                                         ...
                                         2369 insns[0] = (insns[0] & 0xff00) | (u2) OP_EXECUTE_INLINE_RANGE;
                                         2370 insns[1] = (u2) inlineSubs->inlineIdx;

                                         See also, e.g., dalvik\vm\analysis\Optimize.c.



          The ’205 Patent                                                          Infringed By
3. The method of claim 2, wherein       See Claim 2, supra.
the [new virtual machine]
instruction includes a pointer to the   The OP_EXECUTE_INLINE_RANGE bytecode takes as an argument the index of the method
at least one native machine             in the table of inline subroutines. The first field of each element in that table is a pointer to the
instruction.                            native code for that subroutine.

                                        2370 insns[1] = (u2) inlineSubs->inlineIdx;




   pa-1456276 1512212                                                 23 of 24                                        April 1, 2011February 24, 2012
                     Case 3:10-cv-03561-WHA Document 783-1 Filed 03/12/12 Page 25 of 25




pa-1456276 1512212                                    24 of 24                            April 1, 2011February 24, 2012
